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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY




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 Y.W.                                          2:14-CV-1642 WJM

                Plaintiff,

 v.
                                                  O R D E R
 KIMBERLY ROBERTS, et al,

              Defendants.
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            The parties appearing on November 8, 2018 for a

 Settlement Conference and the parties having indicated that the

 action has been settled and the terms of the settlement having

 been placed on the record in open court, therefore;

            It is on this 8th day of November, 2018

            O R D E R E D that the above captioned matter

 is hereby dismissed.



                                         s/William J. Martini

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                                      WILLIAM J. MARTINI, U.S.D.J.
